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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                Civil Action No. t8-t5703 (WJM) (ME)
z.P.,
                                                    CONSENT ORDER ADJOURNING
                 Plaintiff,                        DEFENDANTS YALE UNIVERSITY,
                                                YALE-NEW HAVEN HOSPITAL, PETER
    V.
                                                  SALOVEY, DR. PAUL GENECIN AND
                                                DR. LORRAINE SIGGINS’S DEADLINES
YALE UNIVERSITY, YALE-NEW
                                                 TO ANSWER, MOVE OR OTHERWISE
HAVEN HOSPITAL, PETER SALOVEY,
                                                      RESPOND TO PLAINTIFF’S
DR. PAUL GENECIN, DR. LORRAINE
                                                           COMPLAINT
SIGGENS, JONATHAN HOLLOWAY,
JOHN DOES 1-3 and JANE DOES 1-3,

                 Defendants.                    DOCUMENT FILED ELECTRONICALLY


         THIS MATTER having been opened to the Court by Saiber LLC, counsel for Yale

University, Yale-New Haven Hospital, Peter Salovey. Paul Genecin and Lorraine Siggins

(colLectively “Defendants”), on notice to all counsel, seeking extensions of time for the

Defendants to answer, move or otherwise respond to Plaintiffs Complaint until April 22, 2019;

and the Court having considered Defendants’ February 13, 2019 letter application in support

thereof; and Defendants’ letter application having reported to the Court that Plaintiff has no

objection and has consented to the requested extensions and the stibmitted form of Order; and the

Court having considered the status of the proceedings; and for other and good cause having been

shown,

         ITISonthis   t        dayof_________             2019, hereby




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       ORDERED that the deadline by which defendants Yale University, Yale-New Haven

Hospital, Peter Salovey. Paul Genecin and Lorraine Siggins may answer, move or otherwise

respond to Plaintiffs Complaint be and is hereby adjourned to April 22, 2019.




                                            UNITED STATES MAGISTRATE JUDGE




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